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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL 2179
“DEEPWATER HORIZON” IN THE

GULF OF MEXICO, ON APRIL 20, 2016 SECTION: “J”
This Document Applies to: JUDGE BARBIER

MAG, JUDGE SHUSHAN
No. 12-970, Bon Secour Fisheries, Inc., et al.
v. BP Exploration & Production Inc., et al.

MEMORANDUM OF LAW IN SUPPORT OF JON ANDRY’S, GLENN J. LERNER’S,
AND ANDRYLERNER, LLC’S OBJECTIONS TO, AND MOTION TO AMEND, THE
ORDER GRANTING THE SPECIAL MASTER ADDITIONAL POWERS

The Court appointed Louis J. Freeh as Special Master to investigate the circumstances of
Lionel Sutton’s resignation from the Court Supervised Settlement Program (“CSSP”) and to
make factual findings about any ethical or other misconduct at the CSSP. Rec. Doc. 10564,
With the filing of his Report, Ree, Doc. 11287, the Court concluded that the Special Master had
“completed” those tasks. Rec. Doc, 11288. Mr, Freeh’s work nevertheless has continued.
Without giving Rule 53 notice to Jon Andry (“Andry”), Glenn J. Lerner (“Lerner”), and
AndryLerner LLC (“AndryLerner”) (collectively “The AndryLerner Interests”) or an opportunity
to be heard, the Court expanded Mr. Freeh’s powers in an Order issued on September 6, 2013
(the “Order”’). Jd These additional powers go beyond what is permitted by Rule 53, and

Mr. Freeh is exercising them in a manner that exceeds what is allowable by rule. As a result the

‘Jon Andry, Glen Lerner, and AndryLerner LLC appear solely to object to, and seek amendment of, the expanded
powers gratted to the Specia] Master in the Order. Andry, Lerner, and AndryLerner specifically reserve their rights
to make any and all objections to the Special Master’s Report and any other aspects of the Order not addressed
herein, including those grounds for dismissal set forth in Federal Rule of Civil Procedure 12(b) and any other
grounds relating to the scope of Mr. Frech’s authority under Rule 53.
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AndryLerner Law Firm is in jeopardy of not being able to survive and its clients are being
deprived of the rightful remedies for damages caused by the Deepwater Horizon oil spill.

Mr. Freeh is no longer acting as an officer of the Court appointed for a limited purpose.
Instead, he has claimed the powers simultaneously of a judicial officer, civil litigant, special
prosecutor, and claims administrator. He has withheld significant portions of the investigative
record from the Court and filed papers opposing legitimate demands for access to the
investigative record. He even has issued a public statement in response to a request from the
movants here seeking additional information about his potential conflicts of interest.

Mr. Freeh also is seeking now to function essentially as the claims administrator. He has
undertaken to review every one of the nearly 500 pending AndryLerner client claims, without
any reason to believe they are fraudulent or disclosing the criteria for his review. He has, in
effect, quarantined these claims even though neither his investigation nor the Claims
Administration Office’s (“CAO”) own internal investigation has found any wrongdoing with
respect to any claim (including Casey Thonn’s). As a result, not a single AndryLerner client has
been paid since the issuance of the Order and AndryLerner’s clients are arbitrarily being denied
the processing and payment of claims. The failure to process and pay these claims in due course
has unfairly prejudiced AndryLerner’s clients, who through no fault of their own have been
denied compensation. It also is in direct contravention of the Court’s mandate that Mr. Freeh’s
investigation “not delay or impede the payment of legitimate claims.” Rec, Doc. 11288 at 3.

The freeze on payments is also pushing AndryLemer to the brink of financial ruin and
threatens to impair the firm’s ability to represent its clients. The AndryLerner Law Firm is a

separate legal entity from Andry and Lerner. It has obligations and responsibilities to others
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separate and apart from the obligations and duties of Andry and Lerner. The obligations include
but are not limited to the following:

e Paying the ten full-time and part-time employees of the firm. These employees
receive a check on a regular basis that provides food for their families, pays for their
children’s educations, pays medical bills and health and other insurance and pays the
note on their home or rent.

e Payments to vendors who provide goods or services to the firm. The vendors range
from Entergy to the phone company and vendors who have provided expert reports or
services for the AndryLerner law firm.

e Payments to clients and referring attorneys.

The effect of the freeze on the payment of legitimate AndryLerner client claims makes it difficult
for the firm to honor its obligations and service its clients on a going forward basis. The
employees, vendors, and clients are not accused of any wrongdoing (in fact nobody has yet
identified a single fraudulent claim that has been paid or is eligible for payment) yet are being
asked to suffer as a result of the non-payment of the eligible AndryLerner client claims.

To remedy the foregoing, we ask the Court to amend the Order issued on September 6.

We request the Court rescind the additional powers accorded the Special Master in the Order,
because The AndryLerner Interests were not given notice and an opportunity to heard, as
required under Rule 53. In addition, The AndryLemer Interests object to the additional powers
granted to the Special Master as exceeding Rule 53 and request that the Court amend the Order
in the following manner:

1. Strike the Special Master’s authority to file a “reply to any response, objections or

motions” filed with respect to his Report, Rec. Doc. 11288 at 4;
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2, Strike the Special Master’s authority to “initiate legal action to ‘clawback’ the

payment of any fraudulent claims,” id. at 3; and

3, Limit the Special Master’s authority to “examine and investigate ... any past or

pending claims submitted to the CSSP which are deemed suspicious,” id.

(emphasis added), by

-a)

b)

d)

requiring either the Court or the Special Master to define the criteria that
give rise to a “suspicious” claim;

requiring the Special Master to apply those criteria in a fair, objective
manner and not to single out claims filed by AndryLerner clients;
requiring the Special Master to conclude, except for good cause shown,
his review of any “suspicious” claim within 30 days;

requiring the Special Master, in the event he deems any claim
“suspicious,” to submit a report, and the evidence supporting the report, to
the CAO. A copy of the report should be provided to counsel for the
claimant, who shall be given an opportunity to be heard and to submit
evidence to rebut the report; and

requiring the CAO to investigate the claim in question, based on
information provided by the Special Master and the claimant and any
other information deemed relevant, and make a determination as to

whether the claim is eligible for payment.

The process described in paragraph 3 above will provide transparency with respect to the review

and evaluation of “suspicious” claims, without adding an additional layer of professionals who
P & p

would duplicate the work of existing CSSP claims professionals.
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Additionally, we request that the Court fashion an order that allows AndryLerner to
service its clients, pay its bills, and function without any money being paid to either Lerner or
Andry. The procedures to be employed would be the same procedure that is employed in a
Chapter 11 case where lenders have an interest in the debtor’s cash but it is in the best interest of
all to keep the entity functioning while the other issues in the case are going through the normal
adversarial process. The suggested order would provide the following:

1. AndryLerner would provide to the Court or its designee an approved operating
budget. The budget would allow AndryLerner’s fees to be used to pay the expenditures set forth
in the budget. The order would, however, prohibit any distribution from AndryLerner to Andry
or Lerner pending further order of the Court; and

2, AndryLerner would provide on a monthly basis a report showing its expenditures
during the prior month and a copy of bank statements and checks to insure that no payments
were received by Andry or Lerner pending further order of the Court.

BACKGROUND

A. The Special Master's Appointment and the September 6, 2013 Order.

On June 25, 20613, the Court notified counsel for BP and the Plaintiffs’ Steering
Committee (“PSC”) of its intent to appoint the Special Master under Rule 53. Rec. Doc, 10564
at 1. The Court did not provide The AndryLerner Interests with notice of its intent to appoint
Mr. Freeh. BP and the PSC did not object to Mr. Freeh’s appointment, and on July 2, 2013, the
Court entered an appointment order (the “Appointment Order”). Jd The Appointment Order
stated that Mr. Freeh does not have the power to perform “traditional Special Master roles
involving mediation, discovery, fact finding or substantive law.” Jd. at 2. Instead, it “limited”

his appointment to the following three functions:
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a) performing the aforementioned independent external investigation
[concerning the resignation of Lionel Sutton from the CAO];

b) fact finding as to any other possible ethical violations or other misconduct
within the CSSP; and

c} examining and evaluating the internal compliance program and anti-
corruption controls within the CSSP, and making any necessary

recommendations to design and to implement additional such controls,
policies, procedures and practices to ensure the integrity of the CSSP.

Id.

On September 6, 2013, Mr. Freeh submitted a 96-page report to the Court that exceeded
the scope of the Appointment Order (the “Report”). Rec. Doc. 11287. The Appointment Order
did not grant authority to recommend sanctions against any party, attorney, or nonparty.
Nevertheless, Mr. Freeh recommended that the Court apply the unclean hands doctrine to
“fp]rohibit Mr, Lerner, Mr. Jon Andry, Lionel Sutton and Christine Reitano, as well as any law
firms associated with them, from representing any claimants before the DHECC, or from
receiving any related legal fees.” Jd. at 88. Likewise, although Mr. Freeh acknowledged that his
“mandate... did not include a directive to review the accuracy and appropriateness of claims
pending before the DHECC,” he nonetheless found “that the Thonn claims before the DHECC
evidence fraudulent characteristics.” Jd. at 58.

Following the public filing of the Report, on September 6, 2013, the Court entered the
Order, though it was never served on The AndryLerner Interests. Among other things, the Court
directed The AndryLerner Interests, Lionel Sutton, Christine Reitano, and The Andry Law Firm
(the “Show Cause Parties”) to show cause why the Court should not adopt Mr. Freeh’s
recommendations for sanctions. Rec. Doc. 11288 at 3. Additionally, without giving
The AndryLerner Interests notice or an opportunity to be heard, the Court granted Mr. Frech the

power to undertake “duties in addition to those set forth in the July 2, 2013 Order of
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Appointment.” Jd. at 2 (emphasis added). Those additional duties include (i) “examin[ing] and
investigat[ing] ... conflicts of interest by parties involved in the CSSP” and “any past or pending
claims submitted to the CSSP which are deemed to be suspicious,” and (ii) initiating “legal
action to ‘clawback’ the payment of any fraudulent claims.” /d@. at 2-3. The Order also granted
Mr. Freeh the opportunity to “file a reply to any résponse, objections or motions” filed by the
Show Cause Parties and others with respect to his Report. Jd. at 4.

B. Special Master as Special Prosecutor or Civil Litigant

Following the Order, the Show Cause Parties filed motions for access to the Special
Master’s investigative record. Acting as an advocate, Mr. Freeh forcefully opposed those
motions and took the position that the Show Cause Parties are entitled to have only those
materials that are cited in his Report. See Rec. Docs, 11627 & 11639. Mr. Freeh also has
withheld portions of the investigative record from the Court. Mr. Freeh has turned over to the
Court “only those documents referenced in the Report.” Rec. Doc. 11639 at 2. That means the
Court has received less of the investigative record than the United States Attorney’s Office for
the Eastern District of Louisiana. Rec. Doc. 11408 at 1 (stating that material from the Special
Master’s investigation is being provided to the United States Attorney’s Office and that the
Special Master has already communicated with the United States Attorney’s Office on this
issue).

Mr. Freeh, also as an advocate, has issued a public comment in response to one Show
Cause Party’s filing. In response to a motion filed by Andry seeking additional disclosures
concerning possible conflicts of interest, Mr. Freeh not only opposed the request for disclosure,

but he also issued a highly improper public statement criticizing the request and taking a position
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on its merits: He stated, “Mr. Jon Andry’s lawyers’ belated and rambling motion to recuse the
Special Master is without merit in law and fact.”

C. Special Master as Claims Administrator

Mr. Freeh also has acted expansively with respect to his authority to review “suspicious”
claims — undertaking a review of every AndryLerner claim — even though there has been no
finding by anyone that any AndryLerner claim is fraudulent or otherwise improper.

The CAO has concluded that, with limited, immaterial exceptions, all of AndryLemer’s
claims are “in order.” Rec. Doc. 10774-5 at 2-3; see Ex. A (Supplemental Report on Review of
Code of Conduct and Claims Processing Issues, July 17, 2103) at 2-3. After allegations of
impropriety arose concerning Sutton’s relationship to Andry and Lerner, the CAO placed on
“hold” all pending Andrylerner client claims. Rec. Doc. 10761-6 at 3. On July 17, 2013, the
CAO reported to the Court that it had completed a review of both previously processed claims
receiving eligibility notices and in-process claims, totaling 635 claims. Of the 635 claims, 141
already had been processed and received eligibility notices, BrownGreer re-reviewed each of
these claims and “found them all to be in order,” with two immaterial exceptions. See Ex. A at
2-3. With regard to the 494 in-process claims, BrownGreer also conducted a re-review of each
of these claims, and determined, with one immaterial exception, “all such claims to be in order.”
Id. at 3-4. At the preliminary injunction hearing held on July 19, 2013, counsel for the CAO
made clear what the claims re-review demonstrated: “I am aware of no... such evidence, I’ve

looked at the investigative reports, I’ve looked at the backup information. I have seen nothing to

* Associated Press, “BP Oil Spill Settlement Probe Target Lashes Out at Special Investigator” (Oct. 17, 2013),
available at http://;www.nola.com/news/guif-oil-spill/index.ssf/2013/10/bp_oil_spill_settlement_probe.html (last
visited Nov. 5, 2013).
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support the idea that [Sutton or Reitano] had any influence over the calculation of claims to any
claimant.” Hr’g Tr., July 19, 2013, at 21 > see also id. at 22-23.

Mr. Frech himself ultimately corroborated the CAO’s finding of no undue influence as to
any AndryLerner claim, His Report unequivocally stated: “The Special Master did not find any
evidence that either Mr. Sutton or Ms. Reitano directly manipulated the valuation of claims by
accessing the DHECC database.” Rec. Doc. 11287 at 4. Mr. Freeh further noted that, “while
certain conduct of Claims Administrative Office (“CAO”) employees and DHECC vendors
described in this report is problematic, this should not prevent the DHECC from fairly and
efficiently processing and paying honest and legitimate claims in a timely manner,” fd at 2. In
the two months since Mr. Freeh’s Report was issued, he has not — at least not publicly or
privately to AndryLerner counsel — identified any evidence to alter the Report’s finding that no
AndryLerner claims received any unfair advantage. Nor has he identified any AndryLerner
claim as fraudulent.

Notwithstanding the lack of evidence of any wrongdoing and Mr. Freeh’s assertion that
claims processing should proceed in a “timely manner,” the claims process with respect to
AndryLerner clients has ground to a halt. Not a single AndryLerner client claim has been paid
since the Report was issued. In late September, counsel for Andry, Lewis Unglesby,
communicated directly with the Claims Administrator, Mr. Patrick Juneau, in an effort to get the
AndryLerner clients claims processed and paid. See Ex. B (Sept. 27, 2013, Letter from L.
Unglesby to P. Juneau). However, Mr. Freeh, through his representative Gregory Paw,

interceded in those discussions. Mr. Paw informed counsel that Mr. Freeh intended to

* Counsel for the CAO explained: “The [claims processing] system as it is designed has excellent internal checks
and balances, There are multiple layers of professional vendors working in different locations under different
supervisors that have to look at each claim. The claims are calculated for causation in one location and then for
amount, if they satisfy causation, in another.” Jd. at 22.
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investigate ail of the AndryLerner claims pending before the CAO. When pressed by counsel to
disclose the grounds for reviewing every AndryLerner claim and the criteria by which such
review will be conducted, Mr. Paw declined to make any disclosures. Further, as a condition to
authorizing commencement of the processing and payment of AndryLerner client claims, the
Special Master demanded that he be permitted to conduct interviews of all AndryLerner referral
attorneys and forensic accountants employed by the firm. See Ex. C (Oct. 8, 2013, Email from
G. Paw), Mr, Paw recently wrote counsel about the procedure for processing AndryLerner
claims, a function that the Settlement Agreement grants only to the CAO. He has not yielded in
his position that every AndryLerner claim must be reviewed. See Ex. D (Oct. 23, 2013, Email
from G. Paw to L. Westmoland & J. Cobb).

OBJECTIONS AND ARGUMENT

I. THE ANDRYLERNER INTERESTS OBJECT TO THE EXPANDED POWERS
GRANTED TO THE SPECIAL MASTER BECAUSE THEY DID NOT RECEIVE
NOTICE OR AN OPPORTUNITY TO BE HEARD.

The Special Master’s expanded powers must be revoked because the Court did not give
The AndryLerner Interests notice or an opportunity to be heard. “Rule 53 permits the district
court to expand the initial mandate of the special master, but only by amending the referral order
and ‘giving notice to the parties and an opportunity to be heard.’” Shafer v. Army & Air Force
Exchange Serv., 376 F.3d 386, 395 (5th Cir. 2004) (quoting Fed. R. Civ. P. 53(b)(4)). Though
The AndryLerner Interests are not parties to this action, the Court in effect is attempting to make
them parties by ordering them to show cause why the Court should not adopt Mr. Frech’s
recommendation to sanction them. Rule 53 demands that The AndryLerner Interests should have
received notice and an opportunity to be heard before Mr. Frech’s powers were expanded,
Denial of these procedural safeguards requires striking the powers from the Order. See Shafer,

376 F.3d at 395 (reversing the district court’s adoption of a special master’s findings and

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recommendations because “not only was the original referral not amended but the district court
never notified the parties of its purported referral of [another issue] to the special master”). The
Order, therefore, should be amended to revoke the expanded authority granted to Mr. Freeh in
the Order, including his authority (i) to investigate “suspicious” claims, (ii) to initiate
“clawback” actions, and (iii) to file a reply to any response, objections, or motions filed with
respect to his Report.
IL. THE COURT SHOULD REVOKE THE SPECIAL MASTER’S POWER TO
INITIATE “CLAWBACK” ACTIONS AND TO FILE REPLIES BECAUSE SUCH

POWERS IMPERMISSIBLY ALLOW HIM TO ACT AS A PARTY AND AN
ADVOCATE.

In the alternative, the Court should amend the Order to constrain Mr. Freeh to act within
the strictures of Rule 53. Specifically, the Court should strike from the Order Mr. Freeh’s
authority to initiate “clawback” actions and file reply papers in the Show Cause Proceedings.

A special master is a judicial officer subject to the control and supervision of a court.
See In re Gilbert, 276 U.S. 6, 9 (1928) (“When respondent accepted appointment as master he
assumed duties and obligations of a judicial officer.”); Cobell v. Norton, 334 F.3d 1128, 1139
(D.C, Cir. 2003) (“[A]fter his elevation to Special Master-Monitor status, Kieffer was serving as
a judicial officer.”); Morgan v. Kerrigan, 530 F.2d 401, 426 (ist Cir, 1976) ([Mlasters . . . are
subject to the control of the court... .”); Bridgeport Guardians v. Delmonte, No. 5:78-cv-175,
2007 WL 108472, at *1 (D. Conn, Jan. 10, 2007) (““[I]t is primarily up to the district court to
control the master. . . .””) (citations omitted). It is well established that, as a judicial officer, a
special master cannot act as a party or an advocate. For example, in People Who Care y,
Rockford Bd. of Educ., the special master “did party-like things like seeking and resisting
discovery.” 111 F.3d 528, 540 (7th Cir. 1997). The Seventh Circuit explained that because a

special master “is an ad hoc judicial officer, his occupying the status of a party or ‘litigator’... .

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may certainly be questioned.” /d The court further made clear that “[s]hould any appealable
order be issued after a hearing in which the special master participated in an irregular manner,
the appellant if he was prejudiced by the irregularity can ask us to reverse on that basis.” Jd. at
541. In Cobeil v. Norton, a special master was appointed as an “internal investigator’ to monitor
and review the defendants’ “trust reform activities,” 334 F.3d 1128, 1141 (D.C. Cir, 2003). But
“instead of resolving disputes brought to him by the parties,” the special master “became
something like a party himself.” /d. at 1142. The D.C. Circuit held that the special master’s
appointment went “far beyond the practice that has grown up under Rule 53” in that the special
master “was charged with an investigative, quasi-inquisitorial, quasi-prosecutorial role that is
unknown to our adversarial legal system.” Jd.

The expanded authority granted to Mr. Freeh in this case give him a_ similarly
unconventional role and impermissibly allow him to act as a party and an advocate. On the one
hand, when it benefits him, Mr. Freeh has invoked the protections afforded to a “judicial
officer.” In opposing Andry’s motion for discovery about potential conflicts, Mr. Freeh argued
that that “[o]ral examination of a judicial or quasi-judicial officer as to matters within the scope
of his adjudicative duties should be permitted only upon a strong showing of bad faith or
improper behavior.” Rec. Doc. 11720 at 5-6."

On the other hand, in an effort to shield his investigative record from scrutiny, Mr. Frech
has improperly acted like a special prosecutor or civil litigant by filing responses to the Show
Cause Parties’ motions, Mr. Frech’s filing of responses is a quintessential “party-like thing[].”
People Who Care, 111 F.3d at 540. But as the Fifth Circuit explained in Ruiz v, Estelle, because

a special master “is the court’s agent,” he “should perform his duties objectively” and “not” like

4 Additionally, when Mr. Freeh introduced himself to Lerner at the start of his transcribed interview, he stated:
“Mr, Lerner, I’m working as a special master, which is an appointment by the Court, so I’m functioning as a quasi-
judicial officer.” Ex. E (Excerpt of Sworn Statement of G. Lerner, July 31, 2013).

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an “advocate.” 679 F.2d 1115, 1161-62 (Sth Cir. 1982). Moreover, Mr. Freeh’s public comment
on Andry’s motion for discovery relating to potential conflicts of interest was wholly improper.
See Ligon v. City of New York, Case No. 13-3088, Order at 2-3 (2nd Cir. Oct. 31, 2013)
(remanding case, in part, because “‘a series of media interviews and public statements purporting
to respond to criticism of the District Court” created “the appearance of impartiality surrounding
this litigation”), attached hereto as Ex. F.

To ensure that Mr. Freeh acts within the permissible scope of Rule 53, the Court must
amend the Order in two respects. First, the Court should remove Mr. Frech’s authority to “file a
reply to any response, objections or motions” filed by the Show Cause Parties and others with
respect to his Report. Rec. Doc. 11288 at 4. When a party objects to a magistrate’s report and
recommendations to a judge, the magistrate does not have an opportunity to file a reply or make
a comment to the media. The same should hold true for Mr. Freeh.”

Second, the Court should strike from the Order Mr. Freeh’s power to “initiate legal action
to ‘clawback’ the payment of any fraudulent claims.” Rec. Doc. 11288 at 3. Initiating a lawsuit
is quintessentially the province of a party, not a neutral judicial official. See Ligon, Case No. 13-
3088, Order at 2 n.1 (remanding case, in part, because District Court’s statements suggesting that
she would accept filing of a new suit compromised the “appearance of impartiality”). Indeed, we

have found no precedent that authorizes a Rule 53 special master to initiate litigation.° The

° While there may be instances in which Mr. Freeh has to provide facts so that the Court can decide an issue before
it, he should not be granted license, as he has thus far taken, to make argument or take positions against a Show
Cause Party.

* it is not clear from the Order if Mr. Freeh would bring a “clawback” action as counsel to the CAO or BP, or if he
would bring the action in his own name. Whatever the case, it is difficult to understand how he would have standing
to bring such a claim. See Kowalski v. Tesmer, 543 U.S. 125, 129 (2004) (“[A] party ‘generally must assert his own
legal rights and interests, and cannot rest his claim to relief on the legal rights or interests of third parties.’”)
(citations omitted); Powers v. Ohio, 499 U.S. 400, 410 (19915 [A] litigant must assert his or her own legal rights
and interests, and cannot rest a claim to relief on the legal rights or interest of third parties.”}.

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Court, therefore, should amend the Order to remove the Special Master’s power to initiate
“clawback” actions.

il. THE COURT SHOULD LIMIT THE SCOPE OF THE SPECIAL MASTER’S
POWER TO INVESTIGATE AND DENY “SUSPICIOUS” CLAIMS.

Mr. Freeh is exercising his power to investigate “suspicious” claims with respect to
AndryLerner clients that, in effect, has made him the equivalent of the CAO as to such claims.
No AndryLerner claim has been found to be fraudulent or improper. Indeed, the CAQ’s re-
review found all of the AndryLerner claims, both paid and pending, to be “in order.” Ex. A at 2-
3. Yet, Mr. Freeh has tagged each and every Andry Lerner claim as “suspicious” and held up
processing of the firm’s clients’ claims. This embargo is causing harm to the AndryLemer
clients who have already been harmed by the Deepwater Horizon accident and who deserve to be
treated fairly and expeditiously. Moreover, the failure to make these payments is imperiling the
operations of AndryLerner and the firm’s capacity to represent its clients. The Court by its
Order surely did not intend to harm claimants or the employees and vendors of AndryLerner, but
that is precisely the effect it is having. The Order must be amended to clarify Mr. Freeh’s
powers to investigate “suspicious” claims and to provide AndryLerner some financial relief, so
that it can continue to provide representation to its clients and operate the law firm.

Rule 53(b)(2)(A) provides in relevant part that an order appointing a special master “must
state .. . the master’s duties, including any investigation or enforcement duties, and any limits on
the master’s authority under Rule 53(c).” It “requires precise designation of the master’s duties
and authority” as well as “[c|lear identification of any investigating or enforcement duties.” Fed.
R. Civ. P. 53 advisory committee notes (2003). Clear identification is important because the
order appointing a special master is the “source and the limit of the master’s duties and powers,”

United States v. Clifford Matley Family Trust, 354 F.3d 1154, 1159 (9th Cir. 2004), and courts

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do not adopt those aspects of a special master’s findings or recommendations that exceed the
scope of his authority. See Datapoint Corp. v. Microsystems Corp., 31 F. App’x 685, 695 (Fed.
Cir. 2002) (affirming the district court’s holding that the special master’s “findings are adopted
by the court in their entirety, with the exception of what may be characterized as any suggestion
of lack of infringement — an issue beyond the scope of the references and of the authority of the
Special Master or magistrate judge”); Cremin v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
328 F. Supp. 2d 865 (N.D. Hl. 2004) (reversing the decision of the special master because he
exceeded his authority). In addition, Rule 53(b)(2)(D) requires that the order appointing a
special master specify the “time limits” within which the master is to perform his assigned tasks.

Here, the Order does not in any way define Mr. Freeh’s power to investigate “suspicious”
claims. It does not address the criteria that Mr. Freeh is to apply in determining whether a claim
is “suspicious,” require him to apply those criteria equally to all claimants in an objective
manner, or address the procedures that he is to follow in reviewing a “suspicious” claim. Nor
does the Order set any time limits on Mr. Freeh’s investigation of “suspicious” claims, requiring
only that he conduct his investigation in a “manner which does not delay or impede the payment
of legitimate claims.” Rec. Doc. 11288 at 3. The Order also does not address how such
suspicion is to be resolved.

In the absence of any parameters on his power to investigate “suspicious” claims,
Mr. Freeh has attempted to exercise authority that he does not have and cannot be given.
Mr. Freeh has advised counsel for Andry that he intends to investigate each and every one of the
nearly 500 AndryLerner claims pending before the CAO. Not every AndryLerner client claim
can be “suspicious,” especially when the CAO’s re-review demonstrated to the contrary.

Moreover, Mr. Freeh has refused to disclose his criteria for identifying a “suspicious” claim and

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has made unreasonable and burdensome demands on AndryLerner as pre-condition to
authorizing the commencement of processing and payment of AndryLerner client claims. See
Exs. C & D. These demands are in direct contravention of the Court’s mandate that Mr. Freeh’s
investigation “not delay or impede the payment of legitimate claims.” Rec. Doc. 11288 at 3.
itis simply unfair to the many AndryLerner clients who have done nothing wrong that their
claims have been held up based on the non-iransparent, indiscriminate determinations of
Mr. Freeh.

As required by Rule 53, the Court must restrict the scope of Mr. Freeh’s powers to
“examine and investigate” claims “which are deemed suspicious.” Jd. The Court should amend
the Order (i) to require either the Court or the Special Master to define what criteria give rise to a
“suspicious” claim; (ii) to require the Special Master to apply those criteria in a fair, objective
manner and not to single out claims filed by AndryLerner clients; (iii) to require the Special
Master to conclude, except for good cause shown, his review of any “suspicious” claim within
30 days: (iv) in the event the Special Master deems any claim “suspicious,” require him to
submit a report, and the evidence supporting the report, to CAO. A copy of the report should be
provided to counsel for the claimant, who shall be given an opportunity to be heard and to submit
evidence to rebut the report; and, (v) the CAO shall investigate the claim at issue, based on
- information provided by the Special Master and the claimant and any other information deemed
relevant, and make a determination as to whether the claim 1s eligible for payment.

The Court also should fashion an order that allows AndryLerner to service its clients, pay
its bills, and function without any money being paid to either Lerner or Andry. The procedures
to be employed would be the same procedure that is employed in a Chapter 11 case where

lenders have an interest in the debtor’s cash but it is in the best interest of all to keep the entity

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functioning while the other issues in the case are going through the normal adversarial process.
The suggested order would provide the following:

1. AndryLerner would provide to the Court or its designee an approved operating
budget. The budget would allow AndryLerner’s fees to be used to pay the expenditures set forth
in the budget. The order would, however, prohibit any distribution from AndryLerner to Andry
or Lerner pending further order of the Court; and

2. AndryLemer would provide on a monthly basis a report showing its expenditures
during the prior month and a copy of bank statements and checks to insure that no payments
were received by Andry or Lerner pending further order of the Court.

IV. CONCLUSION

For the foregoing reasons, Andry, Lerner and AndryLemer respectfully request that the
Court grant this Motion.
Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing Memorandum has been served on
all counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, this 8 day of November, 2013.

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